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И″θ″                            A4θ         ′
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                                      ̀Rι                                      :llt llム   Y‑8 F》 BI B3
                      DECLARAT10N OF CLARINA(CORI)Ⅳ l.ROSE
             IN SUPPORT OF APPLICAT10N FOR ADⅣ IINISTRATIVE WARRATtTT了 :                                '
                                                                                 Ⅲ
                                                                                     l    .   I

I,Cori Rose,pursuantto 28 UoS.C.§           1746,hereby declare as fo1lows:


        1.      I subrnit this I)eclaration in support ofthe Environmental Protection Agency's


(   EPA")Applicadon for Administrativc Warrant pursuantto Scction 308 ofthc Clcan Water Act

(   CWA"),33U.S.C.§       1318,for the purpose of autho面 zing the EPA,Is contractors,and

representat市 es frol■ the UoS.Army Corps of Enginecrs(           COE'')and UoS.Department ofJustice

(̀̀DO」 "),aS necessary,to conduct inspections to detelllline whether violations ofthe Act have


occurred on a 72‑acrc site comprised oftwo parccls located on cithcr sidc ofthe town line


bctwccn WaHingford and North Branford,COnnecticut:216 Northford Road,WaHingford,

Connecticut and 69 Woods Hill Road(rCar),No■ h Branford,Connecticut(hereafter                     the Site'').


        2.    I make this declaration in my capac■ y as a Senior PtteCt Manager forthe

Regulatory Division,COE New England District. I have servcd in this capacity for 19 years.

        3.      My curcnt rcsponsibilities include providing technical support in CWA

enforcement actions,including site inspections and aquatic resource delineation to document thc

presence of、vetland soils,wetiand vegetation and hydrology,and the use of remote digital tools

to interpret aerial photography,maps and praect plans.I investigate and seek appropriatc

enforccmcnt fbr unauthorized dischargcs of fi1l or dredge material into、 vatcrs ofthe l」 nited


States under Section 404 ofthe CWA,33U.S.C.§             1344.

       4.       I have a Bachelor of Science degree from the University of Rhode lsland,1991,

alll a Professional Wetland Scientist,and train COE personnel on、        vetland deHneatiOn,hydric sOil

analysis,and identiflcation of hydrological indicators.
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      5.          To the best of my knowledge, both parcels are owned by members of the Cooke-

Andrews family, with whom the COE has had contact in past years.

                        COE AND EPA CO-ENFORCEMENT UNDER THE CWA

      6.          The COE New England District and EPA Region I have a field level agreement

(FLA) based on the agencies' nationwide Memorandum of Agreement for Federal Enforcernent

for the Section 404 Program of the Clean Water Act. Under the FLA. EPA Region I is the lead

enforcement agency for certain unpermitted discharges, including repeat or flagrant violators,

and discharges related to agricultural or silvicultural operations.

        7.         To refer a case to EPA Region I for lead agency status, the COE forwards     a


referral package containing sufficient information to allow EPA Region I to make an informed

decision on whether to accept the referral for further action.

       8.          On November 12,2017,the COE referred the Cooke-Andrew's case to EPA

Region I for enforcement of potential violations of Section 404 of the CWA.

       9.          I prepared the memorandum included in the referral package. which identified the

case as one     fit for EPA referral as it involved willful, flagrant, knowing andior substantial

impacts. This determination was based on inforrnation contained in the case file. as stated below.

                               BASIS FOR THE COE'S REFERRAL TO EPA

        10.         According to the case record, the COE opened an enforcement file on this Site

on April   27   .2010, in response to a phone inquiry from the Town of Wallingford Wetland

Enforcement Officer, Erin O'Hare, who stated that unauthorized work within wetlands at216

Northford Road began in 2009, despite rnultiple Cease and Desist Orders from the Town.
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         1   1.     The case file indicates that COE Project Manager Paula Kullberg sent an initial

irrquiry via Certified Mail to Jeff& Lynne Cooke Andrews at2l0 Northford Road. Wallingford,

Connecticur06492 on May 1.2010. The letter was returned to sender on May 20.2010.

         12.        The case file indicates that the COE sent a second letter via Certified Mail to Jeff

& Lynn    Cooke Andrews       at2l0 Northford Road. Wallingford, Connecticut06492 on March 17,

201   l, which    was returned to sender on   April 5, 2011.

         13.        The case file indicates that during a phone callon      April 14,2011. Jeff Andrews

granted the COE permission to conduct a site visit on his property on           April   I   5. 201 I .

         14.        The case file indicates that COE personnelvisited the site on       April 15,201l, and

that during that visit, COE personnel (Mike Riccio and Marie Sheehan) confinned the presence

of a CWA violation on the Site. Specifically, personnel identified the discharge of fill.

excavation and grubbing in forested wetlands over an area estimated at 1.3 acres.

         15.        According to the case file, COE staff verbally advised Mr. Andrews that no

further work should be undertaken within land under the COE's jurisdiction under Section 404 of

the CWA until authorization from the COE was obtained.

         16.        According to the case file. on May 19.2011, the COE sent Mr. Andrews a written

notice of violation. an order for initialcorrective measures, and a direction to Cease and Desist.

         17   .     Accordirrg to the case file. during a May 20,2011 phone call, COE staff (M.

Ricco and J. McCarthy) infonned Mr. Andrews of the potential legal consequences of continuing

to discharge      fill in wetlands without proper COE authorization, and scheduled           a second site visit.

         18.        The case file indicates that on June 2. 201   l,   COE persorrnel conducted a second

site visit. wliich revealed further unauthorized activities under the CWA (i.e. placernent               of
      Case 3:20-cv-01300-JCH Document 8-25 Filed 09/03/20 Page 4 of 43




material in wetlands and regarding of wetlands on the Northford side). During the site visit on

June2,20l l, COE informed Mr. Jeff Andrews of the unauthorized activities See Exhibit A.

        19.    During the June 2.2011 site visit, Mr. Jeff Andrews stated that he would

undertake the following corrective measures to address the unauthorized impacts: Remove the

stockpile of materialthat he placed in wetland when he constructed the pond and restore graded

wetlands by reestablishing the original wetland grade and stabilizing it with wetland vegetation.

       20.     The case file indicates that in a June 10, 201I emailto Mr. Andrews, the COE

identified the types of land-disturbing activities that would constitute a federal violation.

explained why the agricultural exemption of the regulation did not apply, and identified the

corrective measures Mr. Andrews agreed to undertake to address the unauthorized impacts. See

Exhibit B.

        21.    According to the case file, on July I ,201I the COE (via Regulatory Chief J.

McCarthy) issued a letter to JeffAndrews summarizingthe agreement reached during the June 2,

201I site visit, and corrfirmed the COE's finding that the conversion of wetlands, including

grubbir-rg, stumping and grading, required a CWA permit from the COE. See Exhibit C.

       22.     According to the case file. on July 30,2011, Mr. Andrews sent an e-mail to the

COE Project Manager, Michael Riccio, stating that he did not wish to work with the COE to

authorize the existing wetland impacts because he believed the impacts were not federal

wetlands and exempt from COE jurisdiction. See Exhibit D.

        23.    According to the case file. the COE sent a leffer to Mr. Andrews on August 23,

20 13, requesting access to the property. The case   file indicates the COE was denied access.   See


Exhibit E.
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          24.           The case file indicates that on January 23.2012, the Town of Wallingford

obtained from the State Supelior Court ofNew Haven an injunction enjoining Mr. Andrews'

work in wetlands, and requiring him to submit a wetland remediation/restoration plan to the

Court by July 30, 201 2 (Docket CV- l0-5033404).

          25.           The case file indicates that the COE delayed further action on this case, pending

resolution of the Superior Couft case and the court-ordered restitution.

          26.           I began wor*ing on this case on June 6, 2017.

          27   .        On June 6. 201 7. I spoke with the Town of Wallingford attorrrey (Janice Small) to

inquire into the status of its case against Mr. Andrews. Ms. Small reported that the site remained

in noncompliance with the court order.

          28.           In October. 2017 I prepared a photographic time series from aerial photographs

available. from 2006          -    2017. The photographs focused on a 9.19 acre-area ofthe Site that had

been identified as a palustrine forested (PFO) wetland previously by a consultant retained by the

Town of Wallingford See Exhibit F ("Wetland and Watercourse Violation Assessment Report.

2 I6   Nonhford Road, Wallingford, Connecticut," prepared by Milone & MacBroom, Inc).

          29.           The photographs I reviewed and observed show:

                   a.   August 2009 through September 201 I -cutting of the PFO area begins;

                   b.   March 2013     -   the PFO wetland area cleared. but not stumped or grubbed;

               c.       September 19.      2013       the upper   halfofthe PFO wetland   has been stumped:

               d.       October 2014       -   all except the lowest and wettest portion ofthe PFO wetland has

                        been stumped and cleared and stockpiles for topsoil grading are present;

               e.       September 15, 2015        -   grubbing is encroaching into the lower portion ofthe PFO

                        wetland:
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   f.   April 2016 - grubbing is ongoing-complete with windrowed trees/rootballs and

        topsoil piles to be graded;

   g.   August 2016    - vegetation      and topsoil is being removed/grading in the lower   half

        of the PFO wetland:

   h. Septernber      2016    -   soil piles ready to be graded into stumped/grubbed lower half

        of the PFO wetland; and

   i.   October 2016    -    lower half of the PFO wetland area is now filled/graded.

30.     I have reason to believe, based on my review of the COE case file that:

   a.   The area of the Site identified by the Town of Wallingford's consultant as a PFO

        wetland was a federal wetland contiguous with a perennial tributary and

        possessed a seasonal relative relatively-permanent drainage feature prior to its

        alteration;

   b. Discharge of fill occurred         in the fonner PFO wetland after the May 2010

        notification to Mr. Andrews of COE jurisdiction under Section 404 of the CWA;

   c.   Discharge of   fill   occurred in the former PFO wetland area after the March 201 I

        rrotification to Mr. Andrews that a permit from the COE would be required for the

        completed work, and for any future work in waters and wetlands at the Site;

   d. Fill in the former PFO wetland occurred           in the form of stumping, grubbing and

        grading after the May 201        I COE notification to Mr. Andrews that   such activity

        was regulated under COE jurisdiction, and

   e.   Discharge of   fill   occurred in the former PFO wetland after the July 201    I   COE

        rrotification to Mr. Andrews that the work in the wetland area was not consistent
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                    with the Section 404 agricultural exemption under 33 C.F.R. Section 323.4(a),

                    and that the "recapture provision" under 33 C.F.R. Section 323.4(c) applied.

          3l   .    On March 20,2018, the COE issued a Notice of Violation/Cease and Desist letter

to Ms. Cooke-Andrews and Mr. Andrews, which                    (l)   recounted the multiple notices issued by the

COE since 2010, that the Site contained wetlands under CWA jurisdiction; (2) stated its belief

that dredged and/or     fill material had been discharged            irrto   jurisdictional wetlands without

authorization; and (3) directed the landowners to cease allwork in COE jurisdictional wetlands.

,See   Exhibit G.

       32. I conducted a search of our Ornbil Regulatory Module database and determined that

we had no record o1'permit authorizations issued for the reported locations or the existing or

prior property owners. Consequently, to the best of my knowledge. no member of the

Cooke-Andrews family, nor atry consultants, contractors, or other representatives acting on

their behalf, applied for or received a CWA Section 404 permit fiom the COE for the above-

described activities.




          I, CLARINA M. ROSE, declare under penalty of perjury that the foregoing is true and

          correct based upon my personal krrowledge.



          ROSEoCLARI           .'l   Digitally signed by
                                          CLARINA.M.1245764703
          245764703                       2019050113:15:28‑04'00'


          Clarirra M. Rose    U
          U.S. Arrny Corps of Engi
          New England District Regulatory Division
          696 Virginia Road
          Concord,MA 01742
          (978)318‐ 8306
       Case 3:20-cv-01300-JCH Document 8-25 Filed 09/03/20 Page 8 of 43


                                                                                                      EXHIBF「   A
 From:
 To:                    Riccio. Michael S NAE
 Cc:                    Ladd. Ruth M NAE; Desista. Robeft J NAE
 Subject:               Andersons Estates - vicinity 216 Northford Road, Wallingford, Connecticut
 Date:                  Tuesday, April 19, 2011 1:50:32 PM
 Attachments:           Impacts.pdf
                        Andrews.kmz




RE: .leff and Lynn Cooke Andrervs

Present during site visit on Friday. April 15.2011 (Approx. l0:00AM - l4:00PM):
.leff Andretvs and daughter Ellery - Interested Parties (property ownership)
Michael S. Riccio - CENAE-R-PEB. Corps Regulatory Project Manager
M. James Sheehan - CENAE-R-PT. Senior Biolosist/Soil Scientist

AIso present:
William T. Salg
Supervising Forest Products Harvester
(CTDEP SFPH 000271 Expires: 31112013),
P.O. Box 304
Northtbrd, CT 06472
(203) 484-9942

A   series   of photographs documenting the site visit and an index are located at: <R:\Branch B\RICCIO\Anderson
Estates>


Wetlands are illustrated on Sheets SD-2 and SD-3 of the Subdivision Map (Revised August 27,2003).That
delineation. by Rodd Dryfoos. likely rellects the extent of the poorly drained Wilbraham soils map unit in
accordance u'ith Connecticut's wetland statutes; therefore. I recornmend that copies of the delineator's f-reld notes be
obtained to corroborate m1' estimate that these are also a reasonable representation ofthe extent ofthe federally-
regulated rvetlands on the subject property.

The impacts associated u ith fill" excavation, and grubbing are estimated to be approximately 1.3 acres and are
illustrated in attached sketch. All discharges of dredged and/or fill material associated with those impacts is
regulated under section 404 of the Clean Water Act. Mr. Andreu,s stated that he believed that his uork rvas exempt
fiom f'ederal regulation. Hou'ever. his interpretation appears to be contrary to the instructions found at 33 CFR Part
323.4(c) - these are commonly referred to the "recapture provisions" of the Act.

I recommend Interim Protective Measures be coordinated with EPA in accordance with 33 CFR 326.3 (g) to prevent
bare soil from eroding into unnamed tributaries of the Farm River Stream. rvhich eventually florvs through Lake
Saltonstall and into Long Island Sound. Those nleasures may include planting and establishing native grasses along
the banks ofthe constructed pond and spoil area. A small woodchip dike has been constructed at the downstream
end ofthe pasture fill; maintenance ofthat dike should continue until the soil has been stabilized rvith native grasses
and forbs.

The Environmental Resources Section remains available to you to help 1'ou resolve this unauthorized action and
provide technical assistance during any subsequent permitting.



M. .lames Sheehan
Senior Biologist/Soi I Scientist
978-3 l 8-8696
        Case 3:20-cv-01300-JCH Document 8-25 Filed 09/03/20 Page 9 of 43


                                                                                                EXHIBIT B
 From:               Riccio, Michael S NAE
 To:                 "lecandrews@yahoo.com"
 Cc:                 Desista. Robert   I   NAE; Mccarthv. lennifer L NAE
 Subject:            216 Northford Road Site visit 6-3-11 (UNCLASSIFIED)
 Date:               Friday, lune 10, 2011 12:53:00 PM




Classifi cation : UNCLASSIFIED
Caveats: NONE

Jeff.

This message is to.iust confirm rvhat u'e discussed last rveek and to request that you provide us u,ith a timetable fbr
resolving the violation at 216 Northfbrd Road in Wallingfbrd, Connecticut.

We discussed that.

l. The stockpile of material dredged from the pond was placed in rvetlands. which is a violation of the Clean Water
Act. In order to resolve this violation. y'ou agreed to remove the dirt and return the area to its original rvetland
grade.


2. The wetlands on the Northford side ofthe property lrvith rvood chip dike) have been regraded and therefore are in
violation of the Clean Water Act. You agreed to restore the wetlands in this area by reestablishing the original
rvetland grade and stabilizing it rvith u,etland vegetation. The wood chip dike should remain in place for the time
being to prevent erosion and sedimentation.

3. The agricultural exemption in Section 404 of the Clean Water Act does not include the conversion of non-
agricultural vr,etlands to agricultural land. Therefore 1ou rvould need a permit from this office in order to grub.
stump, clear. or do any other regulated rvork that would change the topography ofwetlands on your property, in
order to turn them into agricultural fields or irrigation ponds, as you've told us is your intent.

4. Ifyou rvish to obtain a permit to convert those u,etlands on your property to agricultural fields or irrigation ponds.
you must submit to us a permit application that includes an explanation of the tvork you rvish to conduct. the amount
of rvetlands you would be impacting. the need for that rvork, and the reason why you cannot avoid impacting those
rvetlands. We also explained that it is not likely we rvould be able to issue a permit for large-scale \tetland impacts
on the propefty.

5. Although we do not foresee this office issuing a permit tbr all of the nerv work you've described. we DO believe it
may be possible to issue an after-the-fact permit for the pond that has already been excavated. ifyou provide us rvith
an explanation of the need for the pond, the reason it was placed where it was placed. a plan to resolve the
outstanding violations. and a tolling agreement (copy attached). Some additional rvetland impacts may also be
permitted. such as the additional small pond you described.

6. The clear-cutting conducted in wetlands on your property does not constitute a violation at this time. and tvould
not. provided you do not perlbrm larrd disturbing (such as stumping. grubbing. grading etc).



We would like to rvork r.vith you to resolve the e-xisting violations and potentially issue an atter-the-fact permit for
the existing pond. I/we are sensitive to your desire to convert the land to agricultural use and are willing to u,ork
rvith you to resolve the outstanding violations and authorize some u,ork in rvetlands through the permit process. I do
have to remind you though that this of'fice, as well as other appropriate regulatory agencies" is prepared to pursue
enforcement action ify,ou do not proactivelv resolve these issues.

Please provide us with a tangible plan and schedule for providing us the information requested and restoring the
wetland areas discussed above.
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Thank you much. have a good weekend

Michael Riccio
U.S. Arrny Corps of Engineers
Regulatory Division
Phone: 978.3 I 8.8685
Fax: 978.3 I 8.8303




Classifi cation: UNCLASSIFIED
Caleats: NONE
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                                                                  TttE ARMY
                                                                              こF=


                                                                                           EXHIBIT C
                                                 Jull' l,   201   1

           Division
Regr"rlatorl.'
CENAE-R-PEB
File Nunrber: NAE-201 0-0802

Jeff .A,ndret's
216 Northford Rd
Wallingtbrd. CT 06492


I)ear Mr. Andrews:

        This letter is to follorv up on lv1ike Riccio's e-mail message of June 10. 2011. to confrrm
what we discussed during our site visit on June 2, 201 1. and to formalll' request that 1'ou provide
us with a schedule for resolving the violation at 216 Northford Iload in Wallingford.
Connecticut.

Durrirrg our visit rve discussed that;

l.      The stockpile of material dredged from the pond was placed in n,etlands, rvhich is a
violation of Section 404 of the Clean Water Act. In order 1o resolve this violation. )'olr agreed to
remove the stockpile and retun"r the area to its original rve:land grade.

2.       The rvetlands on the Northford side of the property (with wood chip dike) have been
regraded and therefore are in violation of Section 404 of the Clean Water Act. You agreed to
restore the rvetlands in this area by re-establishing the original rvetland grade and stabilizing it
rvith rvetland vegetation. The rvood chip dike should remain in place to prevent erosion and
sedinrentation. but should be removed once the site has re-vegetated.

3.      The agricultural exernption in Section 404 of the Clean Water Act does not include the
conversion of non-agricultural rvetlands to agricultural land or open water. Therefore 1'ou rvould
need a pernrit fi'om this office in order to grub. stump. clear, or do an-v other regulated *'ork that
rvould resul: in the rnovement of soils or the change the topography of wetlands on vorir
propert)'; specifically converting them into agricultural fields or irrigation ponds, as you've told
ns is your intent.

4.       If   1'ou rvish to obtain a pernrit to convert those rvetlands on voLlr propertl' to agricultural
fields or irrigation ponds, I'ou must submit to us a permit application that includes an explanation
of the rvork vou rvish to conduct, the anrount of wetlands yor-r would be impacting, the need for
that rvork, and the reason r.vhy y'ou cannot avoid intpacting those w'etlands, We also explained
that it is not likely we rvor.rld be able to issue a permit for large-scale rvetland inrpacts on the
property.
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5.      Although we do not foresee this office issuing a permit for all of the new work you've
described. *. Jo believe it may be possible to issue an after-the-fact permit for the
                                                                                       pond that has
already been excavated, if you provide us with an explanation    of the need for the pond, the
,.uron it was placed in its curent location. a plan to resolve the outstanding violations and a
tolling agreement (copy attached). Some additional wetland impacts may also be pemritted, such
as the additional small inigation pond you described'

6.      The clear-cutting that was conducted in wetlands on your property does not constitute a
violation at this time, and would not, provided you do not perform land disturbing activities, such
as stumping. grubbing, regrading, etc.

        We woul6 like to work with you to resolve the existing violations and potentially issue
                                                                                                    an
                                                                                                  to
after-the-fact permit for the existing pond. We are sensitive to your desire to convert the land
agricultural uie and are willing to work with you to resolve the outstanding   violations  and
pitentially authorize some of the work described above. through the proper permitting process.
Accordingly, please provide us rvith a schedule for submitting the information requested herein,
and submTt u pt*n foi restoring the impacted wetlands within 7 days of receiving
                                                                                     this letter.

        We would like to remind you that the outstanding violations must be resolved before any
                                                                                         prepared
permits can be issued, and if the violations are not resolved in a timely manner, we are
io prrrr. an enforcement action, including referring the case to the U.S. Environmental
protection Agency or the U.S. Departmeni of Justice. If you have any questions regarding this
matter, please contact Mr. Michael Riccio at (978) 318-8685'


                                                       Sincerely.




Attachments                                            Chief, Regulatory
Copy Fumished
SAS
     Case 3:20-cv-01300-JCH Document 8-25 Filed 09/03/20 Page 13 of 43




Denise Leonard
U.S. EPA Region I
5 Post Office Square Suite 100
Boston, MA 02109

Erin O'Hare
Environmental and Natural Resources Planner
Wallingford Town Hall
45 South Main Street
Wallingford, CT 06492

Janis Small
Town Attorrey
Wallingford Town Hall
45 South Nlain Sheet
Wallingford, CT 06492
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                  TOLLING AGREEMENT BETWEEN UNITED STATES

                  ARMY CORPS OF'ENGINEERS AND JEFF'ANDREWS


       WHEREAS, the United States of America, on behalf of the United States Army Corps             of
Engineers (Corps) may file a complaint against Jeff Andrews residing at216 Northfbrd Road,
Wallingford, Connecticut ("potential defendant(s)") for, inter alia, alleged violations of Sections
301(a), 30g, &404 of the Clean Water Act ("CWA"), 33 U.S.C. Sections 1311(a), 13t9, & 1344
and/or Section 9, 10, or   l3 of the Rivers   and Harbors Act   of 1899, 33 U.S.C. Sections 401,403.
or   407, and/or Ocean Dumping    Act Sections 101 and/or 103 (33 U.S.C.     141 1, 1413), at a site

commonly known as2l6 Northford Road.
         WHEREAS. the purpose of any such complaint would be to obtain appropriate injunctive
relief and to impose appropriate civil or criminal penalties for potential defendant'(s) alleged
violations of the statute(s) cited above;
         WHEREAS, the Corps accepted an after-the-fact (ATF) permit application from the
potential defendant(s) in an attempt to settle the above claims:
          WHEREAS, both parties believe that their interests will best be served by continuing the
ATF permit process without the disruption that might be occasioned should the United States file
a complaint in the immediate future;

         AND WHEREAS both parties acknorvledge the requirement found at 33 C.F.R.326.3(e)
for an applicant for an ATF permit to provide a signed tolling agreement;


THEREFORE, the United States and potential defendant(s) stipulate and agree as follows:
     1. The United States and potential defendant(s) agree that the time betw'een the
                                                                                   (as defined
acceptance by the Corps of the ATF permit application and the final Corps decision

at 33   CFR 326.3), plas one yeor thereafter, will     not be included in calculating any statute   of

Iimitations that might be applicable to the alleged statutory violation(s) described above'
potential defendants agree not to assert, plead, or raise in any fashion on behalfofany party,

whether by answer, motion, or otherwise, any defense or avoidance based on the running
                                                                                          of any
                                                                                     based on
statute of limitations that may apply during that period or any defense or avoidance
 laches or other principle conceming the timeliness of commencing a        civil action, based on the

 failure of the United States to file its complaint during that period.
         Z. potential defendants further agree not to transfer the property in question during the
 pendency of this tolling agreement nor during the pendency of any civil action brought as

                                                   l of2
        Case 3:20-cv-01300-JCH Document 8-25 Filed 09/03/20 Page 15 of 43




                   TOLLING AGREEMENT BETWEEN UNITED STATES
                   ARMY CORPS OF ENGINEERS AND JEFF ANDREWS


described above, without first notifuing the United States and giving the United States a

reasonable opportunity to oppose such transfer'

         3.   Nothing in this tolling agreement shall restrict or otherwise prevent the United States
from filing a complaint regarding any alleged statutory violation(s) not described above, at any
time.
         4.   This tolling agreement does not constitute any admission of liabilitl'on the part of
potential defendants; nor does it constitute any admission or acknowledgment on the part of the

United States that any statute of limitations has run or that any statute of limitations is applicable
to the statutory claims described above.
         5.   This tolling agreement contains the entire agreement betrveen the parties, and no
statement. promise or inducement made by any party to this agreement, or any agent of such
parties, that is not set forth in this agreement shall be valid or binding. This tolling agreement

may not be enlarged, modified or altered except in writing signed by the parties. This tolling

agreement may be executed in counterparts.



FOR the United States of America:


John    Astley                                                 DATE
District Counsel
New England District, U.S. Army Corps of Engineers


FOR ("potential defendant(s)")


Jeff Andrews                                                   DATE
Property Owner




                                                 2 of2
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                                                                                   EXHIBIT D

Riccio,Michael S NAE
From:                   LYNN ANDREWS flecandrews@yahoo.coml
Sent:                   Saturday, July 30, 2011 8:45 PM
To:                     Riccio, MichaelS NAE
Subject:                Re: FOIA request (UNCLASSIFIED)


michael sorry fon delay busy hene conrect on both hope        all is well with you thanks jeff
---   0n Wed, 7/t3/11, Riccio, Michael S NAE <Michael.S.Ricciol0usace.anmv.mil> wnote:

> From: Riccio, Michael S NAE <Michael.S.Riccio(dusace.armv.mil>
> Subject: FOIA nequest (UNCLASSIFIED)
> To: lecandnews@vahoo.com
> Date: Wednesday, July !3, zdtt, 4:10 PM
> Classification:   UNCLASSIFIED
> Caveats: NONE

> Hey Jeff,

> Dld you have any luck with finding the informatlon you were looking
> fon on the FOIA website? lust so I'm clean on what it is you'ne
> looking for and so I'm not leading you astnay, you're looking fon any
> info we have in our file fnom Erin O'Hare and anyone else from the
> Town of Wallingford, as well as any of our own information in the
> file?

> Also I wanted to send you an e-mail to confinm that you're not
> planning on signing oun tolling agreement on trying to nesolve the
> existing violations thnough our negulatony pnocess because you're
> arguing that you'ne agnicultunally exempt.
> Thanks. Have a good afternoonl stay dry.


> Michael Riccio
> U.S. Army Conps of Engineers
> Regulatony Divislon
> Phone:978.318.8685
> Fax: 978.318.8303


> Classification:   UNCLASSIFIED
> Caveats: NONE
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                                 DEPARTMENT OFTHE ARMY
                             NEW ENGLAND DISTR!CI CORPS OF ENO■ iNEERS                   EXHIBIT E
                                          696 ViRG!N!A ROAD
                                CONCORD:MASSACHUSETTS 01742‑2761
         REPLY TO
         ATTENT10N OF                     Allgllst 23,2013
Reglllatory Division
CENAE‐ R‐ PEB
File Number: NAE-201 0-0802

Jeff Andlews
2i 6 Northford Rd
Wallingford, CT 06492


Dear Mr. Andrews:

         This letter is to follow up on Michael Riccio's teleplrone conversation with you on
Arrgtrst 27 , 2013 , during which he requested perrnission to access 2 I 6 Northford Road in
Wallingford, Connecticut due to recently repolted activities occu[ing on that ploperty.
Specifically, he wanted to know who the point of contact was in order to obtain permission to
visit the property, given that we nndelstand the title was rccently transferred frorn you to your'
children. During our telephone collversation, you acknowledged that you were still the
appropriate point of corttact and glanted us permission to access the site. However, becanse you
asked that we put our request in writing, we're writing to you to fomrally reqnest peunission to
access the abovetnentioned property within the next two weeks. Michael and I would be present,
as you acknorvledged that we specilically would be allowed on site.

        Please confir'nr that you've rtceived this letter as soon as possible either by contacting me
at (978) 3 18-8330 or Michael at (978) 318-8685, so that we can discuss a mutually acceptable
date to visit the property.



                                                      Sincerely,




Attachments
Copy Furnished
SAS
         Case 3:20-cv-01300-JCH Document 8-25 Filed 09/03/20 Page 18 of 43




    Denise Leonard
    U.S. EPA Region I
    5 Post O{fice Square Suite 100
    Boston, MA 02109

    Erin O'Hare
    Environmental and Natural Resontces Planner
    Wallingford Town Hall
    45 Soutlt Main Sh'eet
    Wallingford,  Ci  06492

    Janis Small
    Town Attontey
    Wallilrgford Town Hall
.   45 South Main Stteet
    Wallingfold, CT 06492
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Rose Exhibit F
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                           WETLAND AND WATERCOURSE
                          Ⅵ OLATION ASSESSMENT REPoRT

                                216 NORTⅡ FORD
                                             ROAD
                            WALLINGFORD,CONNECTICUT
                                   November 10,2010

                                    blMI#1585‐ 33‑1




                                     Preparcdfor:

                                  Town of Wallingford
                                  45 South Main Street
                                 Wallingford,CT 06492


                                     Prepared by:
 [￨
                               Mrr,oNn & MecBnoou, INc.
                                     99 Realty Drive
                                   Cheshire, CT 06410
「L̲
                                      203-271-1773
                             www.miloneandmacbroom.com
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                                                                MILONE&MACBR00M°
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,   WETLAND AND WATERCOURSE VIOLAT10N ASSESSPIEN「 REPORT
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     NOVEⅣ IBER 2010

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l,.




         1.O     INTRODUCT10N

         Milone&MacBroom,Inc.Om壼 )has             leen retained by the To、 咆 OfWallingford tO prO宙 de
l       guidance regarclng an a■
                                   eged Ongoing wetland and watercollrse violation located at 216
J     Northford Road in Wallingford,COmecticut.In July and August 2009,owners of said property

l       began constmction ofa pOnd along an unnamed tributary to the Farm River. The o、             mers did not
̀     submit any 10cal,state,andノ
                                     or federalinland wetland peコ 肛饉ts for consmctiOn Ofthe pond and/or

         other associated consttction act市 ■ies.On A■ gust 7,2009,the townts We■ and and

         Watercollrse ColnmisSion issued a cease and desist On said prope■        y forttle pond comctiOn
l     activities.


         The town has provided MMI with the following documents for review:



               -+   Memorandum from Erin O'Hare to Janis Small regarding 216 Northford Road
                                                                                                          -
                    Lynne Cooke Andrews      -   cease and desist dated June    4,2010
↓¨




                    Letter from South Central Regional Water Authority regarding "Complaint of Dirty
︶




                    'Water"
                             sent tb Erin O'Hare dated August ll,2}Og
﹁




               -+   Photo Logs of the pond under construction taken by tolvn staffon August 6,2009

                    Letter from Soil Resource Consultants regarding "Verification of Wetland
                    Delindation Lots 1-4   - Andrew Estates -        Maria Todd Road   - Wallingford, CT,' dated
                    Noyember 4,2003
               :+   Sheet SD-1 of the Anderson Estates      -   Phase 1 Subdivision dated September 15, 2003
                    prepared by Nafis   & Young Engineers, Inc.
               -+   Report entitled *2003 Wetlands Survey        -   Andrews Subdivision" prepared by Marine

               .    and Freshwater Research Service dated        May 15,2003
               -)   Soils Report entitled "Anderson Properly         - Wallingford - North Branford"   prepared
                    by Dryfos Environmental ConsultingLLC dated July lT,ZOOl
﹁




        The following report provides a sunmary of our review of the above information and our
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        observations of curent site conditions, discusses wetland and w.atercourse impacts, and provides
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        WETLAND AND WATERCOURSE VIOLA■
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general reconllnendations for Fmigtting and restonng impa∝ cd weJands and watercOllrses




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within the proJect site.



2.O     FIELD INVESTIGAT10N




                                                                                                             ＦＩＬ
On Odober20,2010,an MMIwater resotrceengineer and wetland scientiSt accompanielbythe
tom condu∝ ed    an on― ste invettigttion of an excavated pond,stockpile areL and other rcl江     ed
cOnsmctiOn activlities on stte with town sttt ThO pr● eCt Stte is locatedjust north ofthe top

line bemeen wallingford and North Branfordo The site is located wlthin the llmalned tributary

ofthe FarmttVer watershed(Drainage Basin No.5H2‐          03‐ 1)and   has a drahage area of
approttimately O.82 square miles(531 acre⇒ .A watershed map in relationto the ptteCt Site is

atta申
     ゛・賛FIⅢ el.The pr● eCt Site is notloctted in aFederd Emergeilcy Management
Agency『 EMAD flood ZOne.The pro」 ect Site,the llmamed tributary,andthe Fann R市 er              are all

located within a SOuth Central Water Authority public drinkingwater supply watershed.The
                                                                                                         F
llmamed tributary is designated by the Connecticut Department ofEnvironlnental Protection                l !



(CpEP)as a Class AA sCace water resollrce.
                                                                                                         [
Class AA inland surface waters are loown or presllrned to mect water quality criteria that can

support designated uses such as cxisting or potential public drinking water supply,flsh and

wildlife h¨ hat,recreational use,agriculttal and industrial supply,and other purposes.

Recreation uses may be restricted. The tributttγ inost likely suppOrts a cold‐ water flshery and

important IInacroinvertebrate habitat.
                                                                                                         ￨




2.1     Existing Conditions
                                                                                                         ￨ト



The project site is located at the base of a valley and occurs within and adjacent to the urrnamed
tributary wet meadodemergent marsh wetlands, According to the NRCS soil survey map, the
project site is located within areas containing both wetland and upland soils.




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WETLAND AND WATERCO■ JRSE VIOLAT10N ASSESSMENT REPORT
                                                                                                         ￨ :
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         The following soil series are found within the project site. The soils are illustrated in Figure 2.
﹁




                         Bash Silt Loam   -   Somewhat poorly drained alluvial floodplain soil (Connecticut
︲■




                         wetland soil)
一




                         Wilbraham and Menlo Complex             - Poorly and very poorly    drained soil
¨




                         (Corurecticut and federal wetland soil)
                    ↓
一




                         Branford Silt Loam       -   Well drained soil (upland soil)
                    ↓
︑




                         Ludlow Silt Loam     -   Moderately well drained soil (upland soil)


         The man-made pond is approximately
         0.4 acres in size and is surrounded by
         an earthen berm that is moderately

         vegetated with young weedy species.
         The pond is not in line with the

         existing unnamed tributary but is
         hydrologically connected to the
         watercourse via an outlet channel
         located along the southeast portion      of
         the pond. Soil that has been excavated            Existing pond Iooking northeast toward primary stockpile
         fiom the pond was stockpiled at
         several locations. The primary stockpile area is located approximately 60 feet east of the pond
         and unnamed tributary while smaller stockpiles occrr north of the pond, and additional material
     '   has been spread around the periphery of the        pond. Water quality within the pond appears to be
               as evidenced by the cloudy coloration. The cloudy coloration is due to suspended sediment,
         .fair
          including plankton. The pond appears to have been constructed within the Bash Silt Loam soil
         series, which is a state-regulated floodplain soil.




         WETLAND AND WATERCOURSE VIOLAT10N ASSESSMENT REPORT
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                                                      Branford Silt Loam



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                          E$hadw,                                                                                         LOCAT10N:
                          Lindsqp; Afthlkcntre             216 Northford Road
                          nnd Dnvioailcnfil Sclwe
                                                      Wetland fmpact Investigation                                                      Wallingford,CT
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r:,9                                                                N
    Realty Drlve
  Cheshire, Connectlcut 06410
rta$3) 27 t-1773 Fax: (203) 272-97 33
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                                           ぬ             216 Northford Road
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      MILONE&MttЮ                              OM・
                                                     Wetland Impact Investigation              Wallingford, CT
公
1̲,Realty Drive                                                 N
 Cheshire,Connecticut 06410                                            ntrl財

1鴛 .係 L胤 胤 席MI:1733                                                            1lFillFillage
                                                                I C°
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              Upstream of the site, the tributary has a
              Rosgen Type C4 alluvial channel that is
￨




tコ            approxirnately 10 feet wide and is in good
    ｒ 一一Ｌ




              condition. Withinthe project site, the
              unnamed tributary that flows parallel to the
    ﹇Ｆに ﹄




              pond has a width that varies from eight to 10
              feet. The tributary is perennial and has a
    ｒト




              subshate consisting of coarse sand, gravel,
    ー
    １・




              cobbles, and stones. Thnough the project
     ﹁




              site, the riparian vegetation ranges from                    Unnamed tributary looking upstream
    ︐
    ′・
     ・




              moderate to high density. Pussy willow, speckled a1der, reed canary grass, devil's beggar tick,
              soft rush, and other herbaceous vegetation dominate. There are a few larger trees along the left
「             bank (facing downstream) including red maple, sycamore, and eastern red cedar. Dry reinforced
    ﹇︲
     ．Ｆ﹄




              concrete pipe (RCP) culverts were observed along the right bank (facing downstream) of the
     ︱




              tributary. The pipes appear to be anchoring the bank along this section of the tributary.
    い︱
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              Additional piles of RCP are found along the north edge of the pond. It appears that the owner
      ︲




              intended to install a stream crossing at the project site.
      一
          ︐




              A secondary overflow channel was      also
      一




      1       documented near the southem edge of the
「
    L」        pond. This channel primarily conveys
     Ｆ Ｌ




              floodflows back to the main channel.
              Some surface water was present    within
     ＦＦ﹈




              this overflow channel, but flow was
              minimal. The water within this overflow
     い
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              channel was discolored as evidenced by

              orange iron oxidation and oily sheen
     ﹇
     卜﹄




              caused by manganese precipitation. Both

              iron oxidation and manganese                        Overflow channel with cloudy orange-colored water.
                                                                             Oily sheen is present as well.
     一
     ドＬ




              precipitation are often attributed to recent
              disturbance of nearby soils.
     ＦＬ




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                                                                                                              Ｅ
                                                                                                             一Ｌ
 Wet meadodemergent marsh wetland
 pockets were observed north ofthe                                                                       「
 pond as well as south ofthe pond.

 Vegetation within these wetland                                                                         E
 pockets included blue vervain, soft

 rush, sensitive fern, joe-pye weed;
                                                                                                         「‐
 monkeyflower, lurid sedge, reed
 canary grffis, amow leaved tearthumb,                                                                   ￨￨

 and jewelweed.
                                             Wet meadoilemergent marsh wetlands north of the pond        ￨｀
                                                                                                         と′


 Additional slope wet meadow
 wetlands were observed east of the

 existing pond and tributary. The
primary stockpile area is located in the
 wet meadow wetland. The wet
'meadow/emergent
                 marsh wetlands are
located within the poorly and very
poorly drained Wilbraham and Menio




                                                                                                         ︱
                                                                                                         ︱
                                                                                                         Ｉ
complex. These wetland soils are
regulated by both state and federal




                                                                                                             Ｅ
agencies.                                   Primary stockpile located on slope wet meadodemergent
                                            marsh wetland




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Scrub shrub/forested wetlands were observed north of the project site on adjacent open space
                                                                                                         ・
                                                                                                         Ｉ


land owned by the town.                                                                                          Ｊ




There are no sediment and erosion controls (i.e., silt fence, haybales, straw wattles, erosion
                                                                                                         巨
control matting, etc.) on site. Many of the areas that had been disturbed by the previous pond
excavation activities, reportedly in July and August 2}}9,havebecome sparsely to moderateiy
                                                                                                         E
                                                                                                         ＦＩ
                                                                                                          ︲﹄




vegetated with weedy arurual species. The primary stockpile still has barren side slopes, and    rills
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          have formed (see above photo). Erosion and deposition of material from this stockpile area are
          directed toward the unnamed tributary and wet meadow wetlands.


          The vegetation that has colonized the disturbed areas within the project site may have resulted
          from someone seeding the area or may have germinated from an existing seed source within the
          stockpiled soil. Most of the existing vegetation is considered annual and biennial weeds, which
          are classified as early colonizers ofdisturbed sites.



          2.2       Historic Conditions


          The following description of the historic conditions at the project site is based upon review   of
  ﹁




          available aerial photography and subdivision pians. The following aerial photograph illustrates
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          the project site condition in
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          winter 2008. The 2008 aerial
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          photograph shows that the
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          project site was a combination
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          of wet meadow wefland/
  ﹁




          emergent marsh wetlands and
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          upland meadows. The upland
  ﹁︐




          and wet meadow areas were
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          most likely managed (cut) once
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          every couple ofyears because
  Ｊ




          early successional shrubs and
 ．




          trees are absent in the 2008
 コ




          aerial.
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                                                                                                                  Ｆ
         Wetland and Watercourse Impacts




                                                                                                                  Ｆ
It appears that the pond was constructed within      a   portion of the wet meadodemergent marsh
wetland system, so loss of valuable wetland habitat has resulted. The project activities in
relation to wetland boundaries flagged back in 2003 are depicted in Figure           3.   Excavated           [
material from the pond was spread and stockpiled around the periphery of the pond, which
buried additional areas of wetland as well. The unnamed tributary has been filled along the right             [
bank (facing downstream), and several culverts are found in the channel. Besides frlling wet
meadodemergent wetlands, it also appears that channel width and conveyance capacity of the                    ￨:

unnamed tributary may have been impacted as a result of         fill   placed along both the right and left

banks. In addition, loss and manipulation of the localized floodplain have occured, which could
increase downstream flooding in the near       future. Water quality and macroinvertebrate habitat
within the unnamed tributary are most likely being impacted by the lack of sediment and erosion




                                                                                                                  Ｅ
controls on site (increased sediment loading), the oxidation of iron and manganese from tecent
soil disturbance (based on visual observation), and surface water discharges ftom the pond,




                                                                                                                  Ｅ
which appears to have higher levels of suspended solids and plankton (based on visual
observation of cloudy pond water).




                                                                                                                  Ｅ
A portion of the primary stockpile      area east of the pond and tributary was placed      within slope




                                                                                                                  Ｅ
wetmeadow wetlands. The wetland soils
are buried at this time.



It should be noted that in additionto the
pond excavation, channel manipulation, and
stockpiling of    fill within   wetlands someone
has clear cut areas of forested/scrub shrub

wetlands that are located northeast of the                                                                    「
project site. Largetrees and shrubby
vegetation have been cut and removed from
                                                                                                              E
                                                                Forested wetlands being cleared

                                                                                                              「
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                                                                                    Herbaceous plants
        the wetlands. Stumps and slash cuttings have been left within the wetlands'
        are beginning to sprout. These forested wetlands appeared to have been
                                                                                cleared dr:ring 2010
                                                                                          on cut
        sunmer months as evidenced by the presence of brown-colored leaves stil1 attached
        branches and freshlY cut stumPs.


                                                                                                  base
        It is dif{icult to determine the total areal extent of wetland impact without appropriate
                                                                                             and
        mapping; however, we estimate the wetland impacts to exceed one acre, These wetland
                                                                                     for both the
﹁




        watercourse impacts exceed the Prograrnmatic General Permit (PGP) thresholds
●




        Connecticut Department of Environmental Protection (CTDEP) and the United States
                                                                                           Army
                                                                                           most likeiy
        Corps of Engineers (USACOE). This means that state and federal permits are
                 for the activities that are ongoing on this site. State and federal permits that may be
」
        required
        required include:
                               -+   CTDEP Diversion Permit
﹁︐




                               +    CTDEP 401 Water Quality Certification
︐
一




                               -+ USACOE       4A4   After the Fact Individual Wetlands Permit
﹁




         2.4    MitiqationlRestoration Recommendations


                                                                                           that the
         Based on our assessment of the wetland and watercourse impacts, it is recommended
         owner of the property complete the following:
一
一




                           Install sediment and erosion control measufes (i.e., silt fence) on site, specifically
                           around existing stockpile areas and areas that are highly erodible.
Ｆ 一¨




                           Retain a professional wetland scientist, licensed surveyor, and professional
   ﹂
    ⁚
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                           engineer to complete new topographic survey of current conditions, assess
Ｆ ﹂Ｌ




                           wetland impacts, and prepare a long-term stabilization and use plan. New
                           topographic mapping should include overlays of the former wetland
                                                                                             boundary
ΓＦＬ




                           delineated back in 2003 so that actual wetland impacts canbe calculated'

                           Prepare a wetland and watercourse mitigation plan that restores the
                                                                                               wet

[:                         meadodemergent marsh system back to former conditions'
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                                                                                                                     Ｅ
                                                                                                                     Ｆ
                The mitigation plan shall include:

                       o    Removal of all frll placed within wetlands
                       o    Provision of a wetland and watercourse functions and values                          「
                                                                                                                 1




                            assessment in accordance with the United States Army Corps               of
                            Engineers Highway Methodology Workbook.
                       o    Relocation of the pond outside of wetland soils with a properly                      ・
                                                                                                                 「
                                                                                                                 t
                            engineered outlet structure
                       o    Regrading of the site to former conditions
                                                                                                                 [￨
                       o    Restoration of existing buried wetland soils (Organic content in topsoil

                            shall be a minimum of six percent, and a minimum of six inches                of
                            topsoil must be present across the wetland.)
                                                                                                                 「




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                                                                                                                 ＩＬ
                        o   Reestablishment of wet meadodemergent marsh wetlands with New
                            England Wetmix seed mix and herbaceous plugs




                                                                                                                     一
                                                                                                                     卜Ｌ
                        .   Removal of culverts placed within the unnamed tributary
                        .   Restoration of riparian zone vegetation (replanting of trees, shrubs,




                                                                                                                 Ｆ ︲Ｌ
                            and herbaceous plants) and the localized floodplain

                        o   Restoration of the existing unnamed tibutary channel including the




                                                                                                                     Ｅ
                            secondary overflow channel

                Wetlands and watercourses shall be redelineated by a certified soil scientist on the




                                                                                                                     Ｅ
                entire parcel   if forestry operations   are to continue. Excavated test pits   will   be

                required in areas that have been filled.

                Detennine the extent of tree clear cutting within the forested/scrub shrub                       [:
                wetlands.
           ↓




                Prepare a wetland mitigation plan for impacted forested/scrub shrub wetlands.
           ↓




                Prepare a wetland and watercourse permit application that identifies all future

                forestry, agricultural, and development plans and submit to the Wallingford
                Inland Wetland and Watercourse Commission.

                Property owner and his/her consultant team shall contact both the CTDEP and
                USACOE regarding applicability of after-the-fact permits and other additional




WETLAND AND WATERCOURSE VIOLAT10N ASSESSpllENT RttPORT
216 NORTIIFORD ROAD
NOVEMBER 2010                                     PAGE 12

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                     Case 3:20-cv-01300-JCH Document 8-25 Filed 09/03/20 Page 34 of 43




                                   mitigation requirements. All conespondence with state and federal agencies shall
'                                  also be sent to the local wetlands enforcement officer'


-        3.0        CONCLUSION


r        Overall, MMI believes that the wetlands on this property have been significantly impacted
                                                                                                   by

'        unpermitted pond construction activities and the more recent tree clear cutting. We have
         summarized our findings and provided a mitigation recommendations plan. If the town
                                                                                                 andlor

'        its local Wetland and Watercourse Commission have any questions regarding this report and./or
          our findings, please do not hesitate to call         w   at203-271-1773'



          Very truly yorus,




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          Mu,oNe & MacBnooM,INC.

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                       3room,P.E.                                         Matthew Sanford,M.S。                      /P￢鴨rs#1677
J       Scnior Vice President                                             Professional Certifled Soil Scientist



          Enclosures

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           WETLAND AND WATERCOURSE VIOLAT10N ASSESSPIENT REPORT
           216 NORTHFORD ROAD
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Rose Exhibit G
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                                    DEPARTMENT OF THE ARMY
                                     uS ARMY CORPS OF ENGINEERS
                                        NEW ENGLAND DlSTRICT
                                           696 VIRGINIA ROAD
                                        CONCORD ttA 01742‐ 2751



                                SENT V!A CERTIFIED MAIL

                                         March 26,2018
Regulatory Division
File No. CENAE-R-2010-00802


Lynn Cook & Jeffrey P. Andrews
216 Northford Road
Wallingford, Con necticut 06492

                          NOTICE OF VIOLATION/CEASE & DESIST

Dear Mr. and Mrs. Andrews:

      This letter is in reference to work that you are conducting on two parcels identified
as 216 Northford Road, Wallingford, Connecticut and 69 Woods Hill Road (rear), North
Branford, Connecticut (See attachments A and B). These locations are collectively
known as the "Site" or "Area of Concern" throughout this correspondence. The work
referenced is the discharge and redeposit of mineral and organic soil material, manure,
wood chips, stumps, debris, and/or other dredged or fill materials, into wetlands and
watenivays tributary to the Farm Rlver between March 2010 and October 2017. The
Farm River, its tributaries, and adjacent wetlands are regulated by the Corps of
Engineers (Corps) pursuant to Section 4A4 d the Clean Water Act (CWA), 33 U.S.C.
1344. Our records indicate that you are a responsible party associated with this activity,
either as a property owner or as a person performing or causing the performance of this
work. The location of wetlands is depicted on the attached Google aerial photograph
(see attachment C). The purpose of this letter is to identify what we believe to be
unlawful discharges into wetlands and/or watemays without Corps authorization, and to
seek information concerning the discharge activities described above.

       Section 4A4 of the CWA prohibits discharges of dredged or fill material into waters
of the United States and their adjacent wetlands unless the work has been authorized
by Department of the Army permit. Please be aware that CWA violations may result in
administrative penalties, civil penalties of up to $52,414 per day for each violation.
Every day unauthorized fill remains in piace is a separate day of violation. lnjunctive
relief, including restoration of the area to its pre-violation condition may also be
required. The Corps and the U.S. Environmental Protection Agency (US EPA) share
enforcement responsibilities under the CWA. Consequently, the details of your case and
the work identified at the above-referenced sites have been shared with the US EPA,
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      Our files indicate that you were informed of our jurisdiction over these wetlands
and/or waterways in writing on May 1,2A10; March 17 ,2011 and May 19,2011 . You
were also informed orally of the need to obiain a Corps permit for work within them on
April 14, 20'! 1 ; June 2,2011, June 10, 201 1 and in writing on July 1 ,2011 . You are
hereby directed to cease and desist any further work that includes filling,
excavatlon, grading or mechanized land clearlng within areas regulate'd hy the
Corps of Engineers, until appropriate authorizalions have been obtained.

        Federal regutations provide that we investigate unauthorized wolk that has
occurred in areas subject to our jurisdiction. Consequently, we reguesf that you
 provide_us with authorization to enter the praperties identified above as the Site
for the purposes of wetland/waterway/soil characterization, investlgatlon of work in or
around aquatic resources and assessment of unpermitted activity ln waters or wetlands.
Please fill out the enclosed "Authorization to Enter Property" form and return it to us by
close of business April 20. 2018,

    Additionally, we request that you provide us with information concerning the
discharge and redeposit of dredged and/or fill material into wetlands and waters at the
site. To assist us in lhis investigation please respond, in writing and complete detail, to
each of the following questions:

1,   Provide the name of all persons, or entities, that currently have or have possessed
     ownership interest in the parcel(s) identified above since 2008. Thls information
     should include the name, residential address, telephone number, the date that the
     person acquired interest in the properties and the person from whom the ownership
     interest was acquired.

2,   Describe the use of the Site since you acquired ownership interest in one, or both of,
     the parcels; also ldentify the current use and describe all intended future uses for the
     Area of Concern.

3,   State whether you have placed dredged or flll material as discharge into wetlands or
     watenruays anywhere on the Site. Please use Attachments A lhrough C to depict
     those areas whete you placed fill. For each one of the parcels associated with this
     work please estlmate the footprint (area in square feet or acres) of impact to waters


- ililT^:lli. ,"rronsibte obtaininsror           a corps permit ror thls work. lr you
            Corps
     believe that a       permit
                        was not           required, please provide your specific reasons
     for such belief.
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5.    ldentify the types of equipment used, the operator(s), and the ownership thereof, to
      excavate, grade, clear vegetation, remove stumps or discharge fill or dredged
      material at the Site, Be specific as to the dates that each of the above activities was
      performed, and the location.

6.    Provide us with a list of siate, local or federal permits that you received or were
      required to obtain for the work at the site,.




7.   Provide a list of all consultants, engineers, soil scientists, contractors and
     subcontractors (including name, mailing address and telephone number) that
     undertook work at the Site.

8,   lf material was brought onto, or delivered, to the site please provide the source of
     this material (including name, mailing address and telephone number), the type,
     amount and location where the materialwas placed.

9,   lf the Site was the subject of property survey, wetland delineatlon or boundary
     documentation prepared by a third party licensed engineer/firm provide us with a
     copy of these documents.

10. Provide copies of all correspondence including, but not limited to, any permits or
     applications for permits with any local, state or federal agency pertaining to the
     placement, relention or removal of dredged or fill material or work occurring in
     wetlands or watenruays at the site.

   No additional regulated wotk within our jurisdiction may be startod or allowed to
continue until you receive a permit signed by the District Engineer or his authorized
representative. Any such future work without a permit will be consldered willful,
repeated, or flagrant per 33 CFR Part 326.5(a).

    Please respond to our request for information within thirty (30) days of the date of
this letter. lf you fallto respond to this notification or to provide the requested
information within the specified time frame we may seek immediate legal action to halt
any ongoing activity, conduct our investigation with the information available to us and
take enforcement actlon as allowed by federal law. Our action may lnclude referralto
the U.S. Attorney's Office or the Environment and Natural Resources Division of the
U.S. Department of Justice:

       ln summary, please provide the information requested above, and any other
information that you believe is pertlnent to this situatiorr, within thlrty (30) days of the
date of this letter. We appreciate your cooperation and assistance in resolving this
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matter. Please note that this letter will not foreclose our options to initiate appropriate
legal action. lf you have any questions, please contact Ms. Cori M, Rose of my
Regulatory Staff at (978) 318-8306.

                                               Sincerely,



                                              M4
                                               William M. Conde
                                               Colonel, Corps of Engineers
                                               District Engineer


Copies Furnished:

Denise Leonard, US EPA New England, Region I, OEP Wetland Enforcement,
leonard.denise@epa.qov

Brian Golembiewski, Connecticut DEEP - LWRD, Land Use Review, Southeast Region,
79 Elm Street, Hartford, CT 06106 brian.solembiewski@ct.oov

Kevin Zawoy, CT DEEP -LWRD, Enforcement, 79 Elm Street, Hadford, Connecticut
061 06 kevin.zawov@ct.qov

Janis Small, Wallingford Law Department, 45 South Main Street, Room 308,
Wallin gford, CT 06492 lawdept@wal linofo rdct, qov


Erin O'Hare, Environmental and Natural Resources Planner, Wallingford Town Hall
45 South Main Street, Wallingford, CT 06492
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                                                        CENAE‐ R‐ PRB
                                                        File No.NAE‐ 2010‑00802
                                                        Regulatow Division
織 猟鸞 S
New Engiand DistHct

      ADMEINISTRATI｀ 円E        RECORD              Flle No.NAE‑2010‐ 00802

      SUBJECT: Authorization to Enter Property

                                           fname of at least one individual with ownership interest and

      signature below], hereby give the staffof the U.S. Army Corps of Engineers, New England

     District permission to enter upon my property located at 16 Northford Road, Wallingford,

     Connecticut and 69 Woods      Hill Road (rear), North Branford, Connecticut, to conduct   a site

     review for the purposes of:


             Assessment for wetland jurisdiction
         ●




              Wetland or watelway resource characterization
         ０




             Permit application evaluation

             Assessment with permit compliance or unauthorized activity investigation

             Investigalion of work in or around wetland/waterway resources




             Owner/Print Name                          Signature                        Date




             Owner/Print Name                         Signature                        Datc


             Ownery' Print Name                                Signature               Date



     RETURN by EMAIL or Fax TOl cOri.m.roserausace.armv.mil,
     Facsimile:978)318‑8303

          CHECK HEREIF YOU WISH TO BE PuSENT,OR HAVE YOUR DESIGNATED
               SENTATIVE(S)PRESENT DURING THE VISIT(we will prO宙 de you with atleast
         REP]躍 〕
         10‑days forewal・ ningノ nOtirlcation ofthe intended site visit).
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                                                                                         ATTACHMENT A

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                                                      Date:September2010
      Case 3:20-cv-01300-JCH Document 8-25 Filed 09/03/20 Page 42 of 43




                         EFF ANDREWS 216 NORTHFORD ROAD AND 69 W00DS HILLRD REAR(Map72 8:ockB LotS3)
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Case 3:20-cv-01300-JCH Document 8-25 Filed 09/03/20 Page 43 of 43




                                                                          AttACHMENT C
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                                      Date:SeⅢ mber2010
